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     Organizations
 9
10
11                         UNITED STATES DISTRICT COURT
12                      NORTHERN DISTRICT OF CALIFORNIA
13
14 EPIC GAMES, INC.,                          Case No. 4:20-cv-05640

15             Plaintiff/Counter-Defendant,   PROPOSED PROTOCOL FOR
16                                            PRESS POOL TRIAL COVERAGE
     v.                                       SUBMITTED BY THE REPORTERS
17                                            COMMITTEE FOR FREEDOM OF
18 APPLE INC.,                                THE PRESS AND 18 MEDIA
                                              ORGANIZATIONS
19             Defendant/Counter-Claimant.
20                                            Judge: Hon. Yvonne Gonzalez Rogers

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      PROPOSED PROTOCOL FOR PRESS POOL TRIAL COVERAGE SUBMITTED BY THE REPORTERS
        COMMITTEE FOR FREEDOM OF THE PRESS AND 18 MEDIA ORGANIZATIONS (20-CV-05640)
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 1         The Reporters Committee for Freedom of the Press (“Reporters Committee”),
 2 The Associated Press, The Atlantic Monthly Group LLC, Bloomberg L.P., The

 3 Center for Investigative Reporting (d/b/a Reveal), Dow Jones & Company, Inc., The
 4 E.W. Scripps Company, Gannett Co., Inc., The Information, KPIX-TV, MLex,
 5 National Journal Group LLC, National Press Club Journalism Institute, The National
 6 Press Club, The New York Times Company, POLITICO LLC, The Seattle Times
 7 Company, TEGNA Inc., and Vox Media, LLC, (collectively the “Media Coalition”),
 8 hereby submit the following protocol to govern press pool coverage of the bench trial
 9 scheduled to commence in the above-captioned matter on May 3, 2021.
10         In response to the Media Coalition’s April 16, 2021 administrative motion for
11 additional trial access (ECF 457), following the pre-trial conference held on April 21,
12 2021, the Court issued an order allocating two seats in the courtroom for pre-
13 authorized pool reporters for each day of the bench trial scheduled to begin on May 3.
14 See Pretrial Order No. 4 (ECF 468). The Court directed the Media Coalition to
15 submit a proposed protocol for the news media’s use of those designated seats. Id.
16         In accordance with the Court’s order, members of the Media Coalition and
17 representatives of other news organizations have met and conferred and the following
18 12 reporters from the following nine news organizations have agreed to provide pool
19 coverage, on a rotating basis, for the duration of the trial:
20            • Mike Acton and Amy Miller, MLex
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              • Dorothy Atkins, Law360
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              • Kellen Browning and Erin Griffith, The New York Times
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              • Paresh Dave and Stephen Nellis, Reuters
24
              • Sebastian Herrera, The Wall Street Journal
25
              • Mike Liedtke, Associated Press
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              • Elizabeth Lopatto, The Verge
27
              • Leah Nylen, POLITICO
28                                              2
     PROTOCOL FOR PRESS POOL TRIAL COVERAGE SUBMITTED BY THE REPORTERS COMMITTEE
            FOR FREEDOM OF THE PRESS AND 18 MEDIA ORGANIZATIONS (20-CV-05640)
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 1            • Josh Sisco, The Information
 2         On or before April 30, 2021, the Media Coalition will file with the Court—and
 3 provide via email to the Court’s Media Liaison, Nicholas Jackson—a pool schedule
 4 indicating which of the two above-listed reporters will provide pool coverage for each
 5 day of the trial. That schedule will be based on individual reporters’ availability and
 6 random assignment. Any necessary changes to the pool schedule for a given day will
 7 be communicated to the Court and to Mr. Jackson at least 24 hours in advance.
 8         The Media Coalition respectfully requests that the designated pool reporters be
 9 authorized to enter the Ronald V. Dellums Federal Building & United States
10 Courthouse (the “Courthouse”) in accordance with the pool schedule provided to
11 Court. Each designated pool reporter will have a press credential and/or other photo

12 identification that can be checked against the pool schedule when they arrive at the
13 Courthouse. Members of the news media who serve as pool reporters will comply
14 with the Court’s health and safety protocols while in the Courthouse, including by
15 wearing a protective face covering.
16         Daily pool reports will be made electronically available to all journalists and/or
17 news organizations who request them by the end of each trial day. Any journalist
18 and/or news organization who wishes to receive daily pool reports may contact
19 counsel for the Media Coalition at ktownsend@rcfp.org to facilitate that access.
20 Reporters and news organizations who have agreed to provide pool coverage may
21 communicate or share information more frequently and/or in real-time with other
22 members of the pool. Members of the news media who serve as pool reporters will
23 comply with the Court’s General Order 58 which permits the text functions (and only
24 the text functions) of electronic devices (such as typing documents, emailing, text
25
     messaging, and tweeting) to be used in a non-disruptive manner in the courtroom
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      PROPOSED PROTOCOL FOR PRESS POOL TRIAL COVERAGE SUBMITTED BY THE REPORTERS
        COMMITTEE FOR FREEDOM OF THE PRESS AND 18 MEDIA ORGANIZATIONS (20-CV-05640)
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 1 while proceedings are in session.1 To facilitate efficient pool reporting and timely
 2 distribution of pool reports, the Media Coalition respectfully requests that the
 3 designated pool reporters have access to a power outlet while in the courtroom for
 4 each day of the trial.
 5           Members of the news media not serving as the designated pool reporters on a
 6 given trial day may listen to livestreamed audio of the trial on the designated
 7 telephone line provided by the Court for members of the media and the class
 8 plaintiffs in related actions 4:11-cv-06714-YGR and 4:19-cv-03074-YGR. See
 9 Pretrial Order No. 4 (ECF 468). The Media Coalition respectfully requests that, to
10 the extent possible, the Court’s staff automatically mute those who dial-in to that
11 designated telephone line in order to minimize background noise.

12   Dated: April 23, 2021
13                                                   /s/ Katie Townsend
                                                     Katie Townsend
14                                                   REPORTERS COMMITTEE
15                                                     FOR FREEDOM OF THE PRESS
                                                     1156 15th St. NW, Ste. 1020
16                                                   Washington, D.C. 20005
17                                                   Telephone: (202) 795-9303
                                                     Email: ktownsend@rcfp.org
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19                                                   Counsel for the Reporters
                                                     Committee for Freedom of the
20                                                   Press and 18 Media
21                                                   Organizations
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27  See General Order No. 58, Regulating Possession and Use of Electronic Devices in
     1


   the Courthouse, available at https://www.cand.uscourts.gov/filelibrary/144/GO-
28 58_Eff_9-15-2015.pdf (Oct. 20, 2005, as amended, Sept. 15, 2015).
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         PROPOSED PROTOCOL FOR PRESS POOL TRIAL COVERAGE SUBMITTED BY THE REPORTERS
           COMMITTEE FOR FREEDOM OF THE PRESS AND 18 MEDIA ORGANIZATIONS (20-CV-05640)
         Case 4:20-cv-05640-YGR Document 475 Filed 04/23/21 Page 5 of 5




 1                            CERTIFICATE OF SERVICE
 2
          I hereby certify that on April 23, 2021, I electronically served the foregoing
 3
 4 document via ECF upon all counsel of record.
 5   Dated: April 23, 2021                           /s/ Katie Townsend
 6                                                   Katie Townsend
                                                     REPORTERS COMMITTEE
 7                                                     FOR FREEDOM OF THE PRESS
 8                                                   1156 15th St. NW, Ste. 1020
                                                     Washington, D.C. 20005
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10                                                   Email: ktownsend@rcfp.org
11                                                   Counsel for the Reporters
12                                                   Committee for Freedom of the
                                                     Press and 18 Media
13                                                   Organizations
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      PROPOSED PROTOCOL FOR PRESS POOL TRIAL COVERAGE SUBMITTED BY THE REPORTERS
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